



















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1668-10





ALBERTO GARCIA, Appellant


                  




v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE THIRD COURT OF APPEALS


TRAVIS COUNTY





		Per curiam.  Keasler and Hervey, JJ., dissent.


O R D E R 



	The petition for discretionary review violates Rules of Appellate Procedure 68.4(i) &amp;
9.3(b), because it does not contain a complete copy of the opinion of the court of appeals and
11 copies are not included with the original petition.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this order.

Filed: April 13, 2011 

Do Not Publish


